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                           STATEMENT.
Chapter 13700, Acts of 1929, contains the following provisions:
    "Section 2. No auto transportation company shall operate any motor vehicle for the transportation of persons or property for compensation on any public highway in this State without first having obtained from the Railroad Commission a certificate that the present or future public convenience and necessity requires or will require such operation, but no certificate shall be required for operation exclusively within the limits of an incorporated city or town. The Railroad Commission may at any time for a good cause suspend and upon notice to the grantee of any certificate and opportunity to *Page 1023 
be heard, revoke, alter or amend any certificate issued under the provisions of this section.
    "Section 3. Application for such Certificate of Public Convenience and Necessity shall be made by such Corporation, person, firm or association, their lessees, trustees, or receivers to the Railroad Commission; such application shall be in writing verified by the applicant and shall specify the following matters:
    1. The name and address of applicant and the names and addresses of its officers, if any.
    2. The public highway or highways over which, and the fixed termini or the regular route, if any, between which, or over which applicant intends to operate.
    3. The kind of transportation, whether passenger or freight, or both, in which applicant intends to engage, together with a brief description of each vehicle and motor power which applicant intends to use including the seating capacity thereof, if for passenger traffic, or tonnage, if for freight traffic, and including the size and weight of such vehicles.
    4. The proposed time schedule of operation.
    5. The schedule or tariff, showing all passenger fares or freight rates proposed to be charged between the several points or localities to be served.
    6. Whether or not the said applicant is or has been operating on said routes or other routes in the State, and for what length of time and upon what time schedule of operation and upon what schedule or tariff for passenger fares or freight rates.
    Upon filing of said application the Railroad Commission shall fix a time for hearing of said application, which shall not be less than five days nor more than thirty days subsequent to the filing of said application, and no application shall be granted or a Certificate of Convenience and Necessity issued without a hearing by the Railroad Commission. Notice of such hearing shall be *Page 1024 
given to the applicant and to all transportation companies serving any part of the route between the fixed termini and to the mayor or chief magistrate of each city and town in or through which the applicant desires to operate at least five full days prior to said hearing, which said notice shall recite the fact of the filing of such application, the time and the place of the hearing of the same. A copy of said notice shall be mailed at least five days prior to the time for such hearing to any transportation company holding a Certificate of Public Convenience and Necessity operating over the route or any part of the route specified in said application.
    At the time specified in said notice, or at such time as may be fixed by the Commission, a public hearing upon said application shall be held by the Commission. At or after such hearing the Commission may issue a Certificate of Public Convenience and Necessity, as prayed for or refuse to issue the same, or may issue the same with modification, or upon such terms and conditions as in its judgment the public convenience and necessity may require; Provided, That in granting application for certificate, the Commission may take into consideration the length of time the applicant has operated a scheduled motor vehicle service between the termini named in the application; the general standard of the service maintained during this period; the reliability of the applicant and his sense of responsibility toward the public as shown during the period of his operation; his court record as well as the effect that the granting of such certificate may have upon other transportation facilities within the territory sought to be served by such applicant, and also the effect upon transportation as a whole within said territory and any other matters tending to qualify or disqualify him as a common carrier. Provided, That a Certificate of Public Convenience and Necessity shall upon hearing be granted as a matter of *Page 1025 
right to such Auto Transportation Companies operating in good faith on the 19th day of April, 1929, over the route for which such certificate shall be sought, who shall comply in full with the provisions of this Act.
    When application is made by an Auto Transportation Company for a certificate to operate in a territory or on a line already served by a certificate holder under this Act the Commission shall grant same only when the existing certificate holder or holders serving such territory fail to provide service and facilities to the satisfaction of said Commission."
    "Each Certificate of Convenience and Necessity issued under the provisions of this Act shall contain the following matters:
    1. The name of the grantee.
    2. The public highway or highways over which, and the fixed termini between which the grantee is permitted to operate.
    3. The kind of transportation, whether passenger or freight, or both, in which the grantee is permitted to engage, together with a statement of the number of vehicles to be operated and the maximum seating or tonnage capacity of the vehicle or vehicles which the grantee is permitted to operate.
    4. Such additional provisions and limitations as the Commission shall deem necessary or proper to be inserted in the certificate.
    No certificate of Public Convenience and Necessity issued under the provisions of this Act may be assigned or transferred without the consent of the Railroad Commission authorizing such transfer.
    No Certificate shall be issued for the operation on any highway in the State of any motor vehicles of greater width of tread than eighty-four (84) inches and greater loaded weight than eighteen thousand (18,000) pounds for passenger or freight traffic. The Commission is hereby *Page 1026 
authorized to prescribe the maximum width of tonneau or body including load of motor vehicles used in either passenger or freight service, taking into consideration the width of road over which the same is to be operated."
    "Section 8. Every rule, regulation, decision, order or requirement made by the said Commission under the provisions of this Act shall be deemed and held to be within its jurisdiction and powers, and to be reasonable and just and such as ought to have been made in the premises, and to have been properly made and arrived at in due form of procedure, and such as can and ought to be executed, unless the contrary plainly appears on the face thereof or can be made to appear by clear and satisfactory evidence, and shall not be set aside or held invalid unless the contrary so appears. All presumption shall be in favor of every action of the said Commission and all doubts as to its jurisdiction and powers shall be resolved in its favor. If, in any proceeding to enforce or to attack any rules, regulations, decisions or orders, any part thereof shall be found invalid the court shall proceed to enforce such portion thereof as may be valid if the same can be done."
    "Section 9. In all matters of practice and procedure, and all matters of evidence and the rules of evidence and all matters involving the effect of evidence in proceedings before the Commission under the provisions of this Act, and in proceedings by the said Commission to enforce its rates, rules, regulations, decisions, orders, and requirements made hereunder, and in proceedings against the said Commission in relation to rates, rules, regulations, decisions, orders and requirements prescribed by it, all provisions of law now existing, or which may from time to time be prescribed for observance in like cases arising under the law for the regulation of railroads, railroad companies and common carriers, shall govern and control. *Page 1027 
    "Section 10. The Commission shall, so far as the Constitution of this State permits, exercise such judicial powers as may be necessary to enable it to enforce or perform any duty, power or function conferred on it by this Act.
    "Section 11. No Auto Transportation Company shall operate any motor vehicle on the public highways of this State at a speed in excess of the speed now permitted by the laws of this State, but motor vehicles used exclusively for carrying of passengers may be operated at any rate not exceeding forty-five (45) miles per hour."
    "Section 17. Neither this Act nor any provision hereof shall apply or be construed to apply to commerce with foreign nations or commerce among the several States of the Union except insofar as the same may be permitted under the provisions of the Constitution of the United States and the Acts of Congress."
The findings of the Railroad Commission include the following:
    "As to comfort, safety and convenience of those using the State roads, it clearly appears to the Commission that road hazards would be reduced by permitting the operation of the larger type of motor busses here sought. The uncontradicted testimony shows a movement of passengers averaging 40 to 50 per day each way during certain months of the year, and that were this number of passengers moved in seven passenger sedans operating in fleets on a fixed schedule such as must be prescribed for this operator, the road hazard would be immeasurably increased. It is a matter of common knowledge that most road accidents involve the human element. In such fleets of seven passenger sedans, six, eight or ten drivers would be involved, whereas only one or two drivers would be involved in the larger type of equipment.
    Sudden stoppage for any cause by any driver in such *Page 1028 
fleet of sedans might cause serious road accident, and those passing such vehicles either in the same or opposite direction would find passage of a fleet much more difficult and hazardous than passage of one or even two of the larger vehicles. In the opinion of this Commission the safety, comfort and convenience of those using the State roads would be prompted by the use of the larger type of equipment.
  "AS TO COMFORT, SAFETY AND CONVENIENCE OF THE TRAVELING PUBLIC USING MOTOR BUS TRANSPORTATION:
    There are several elements involved in this consideration which may be enumerated and considered separately:
    (a) The journey from Jacksonville to Miami is a long one approximating 400 miles. For such a journey the bus industry and the manufacturers of motor bus equipment have developed conveniences adding to the comfort of the traveling public, such as reclining chairs with high backs, permitting restfulness, overhead baggage racks with baggage readily accessible, porter service on the conveyance itself, electric lights for reading and for vision in boarding or quitting the conveyance and a roominess permitting moving around enroute. These are all conveniences which cannot be accomplished in the smaller type of equipment heretofore operated by the applicant and to which convenience the public traveling in such numbers as disclosed by this record is logically entitled. To deny the traveling public such convenience would be to choke and throttle the industry by making transportation by bus unpleasant and inconvenient.
    (b) There are many towns and cities on the route served and passengers are taken on and discharged at many intermediate stopping points. Were the operation conducted by a large fleet of sedans, such as would be necessary in the transportation of the number of passengers *Page 1029 
disclosed by the record as using applicant's service, considerable inconvenience and confusion would occur at every stopping point where passengers sought to board the conveyance. Certain of the vehicles would be filled to capacity, and it would be incumbent on the passenger to hurry from one vehicle to another until one was found with room for both himself and his baggage. Congestion would occur in the downtown city streets at such intermediate points as were served with all of the vericles moving in such fleet having the exact time of arrival and departure, and the discharge and taking on of passengers with the handling of baggage would necessarily present many inconveniences especially where occurring during the hours of darkness.
    (c) The Commission takes judicial notice of the added elements of safety incident to the larger type of equipment in the way of powerful air brakes, driver control of the sole means of entry and exit, sturdy construction of the vehicle, making personal injury remote in the event of accident, puncture proof dual tires eliminating the hazards of punctures and blowouts, and like developments of the industry designed to promote the safety of those traveling by bus. The added protection afforded by these safety appliances develop by the industry becomes important when applied to passengers moving in large numbers such as disclosed by this record.
    (d) It is a matter of common knowledge that travelers on a long journey of this nature, being in large number interstate travelers from points far distant, each carry baggage in the way of one or more grips and suitcases. Sedans afford no baggage conveniences whatever excepting as to the few pieces which may be carried in a specially devised box or truck on the rear. The modern parlor car busses have baggage racks with additional facilities in the rear of the bus and in specially constructed baggage compartments. The crowding, confusion *Page 1030 
and inconvenience of baggage transportation for a large number of passengers by sedans is quite obvious. Were all the baggage placed in a separate vehicle the confusion among the several vehicles in locating and unloading baggage, especially at night, is quite apparent. Passengers often need access to baggage enroute. Overhead baggage racks of the larger type of vehicle for small hand baggage is a distinct convenience to which the public traveling in such numbers as is here shown is entitled.
    (d) Race segregation as contemplated by law, required by the regulations of the Railroad Commission, and demanded by the traveling public cannot be afforded in sedans where the large number of passengers here shown are seeking transportation. It is quite obvious that were the passengers here shown in number traveling in a fleet of sedans, the matter of accepting negro passengers at intermediate points would become a very difficult one and would produce a condition under which race segregation would be impossible. A fleet of eight or ten cars moving together into St. Augustine might be confronted with two or more negro passengers there. Even though a sedan were set apart for negroes such sedan might be either loaded or entirely dispensed with in the fleet on account of none offering themselves at the point of origin. The carrier is obliged to carry negroes offering themselves for transportation. Any vacant seats occurring in any of the several cars would be available for such negro passengers. It is quite apparent that race segregation cannot be accomplished in these small vehicles, and where the traffic is shown by uncontradicted testimony as reaching the amount of 40 or 50 passengers per day each day, the larger type of equipment as absolutely essential for such race segregation."
The writ of certiorari herein was issued by this court upon petition of the Florida Motor Lines, *Page 1031 
Inc., to review an order of the Railroad Commission, made under Chapter 13700, Acts of 1929, permitting and requiring the Georgia-Florida Motor Lines, Inc., to substitute five twenty-four passenger busses for five seven passenger sedans in transporting passengers for hire on regular schedules over State Highway No. 4 between Jacksonville and Miami in Florida. The Florida Motor Lines, Inc., being authorized to operate passenger busses over the route upon different schedules, protested against the making of the order chiefly upon grounds that it was authorized to operate busses over the route and had not failed "to provide service and facilities to the satisfaction of the Commission," and that there is no necessity for further passenger facilities over the route.
Until recent years public transportation facilities for hire in Florida were afforded almost entirely by railroad and boat lines, the use of vehicles on the public roads in the State for transportation of persons and property for compensation being relatively negligible. Since motor vehicles have come into general utility and the construction of hard surface highways throughout the State with public funds, the business of using such vehicles in the transportation of persons and property for compensation over the public roads in the State has attained such proportions as to require statutory regulation to conserve the roads and safety in the use of them by the public.
Primarily the vehicular highways are designed for general public transportation and not for conducting thereon the business of transporting persons or property for compensation. The power of Congress over interstate commerce and post roads and as to Federal instrumentalities, is not subject to State authority; but the State may forbid the use of its public highways in the business of *Page 1032 
transportation for hire even in interstate commerce, if no unjust discrimination is thereby perpetrated and Federal instrumentalities are not hindered. Likewise the State may permit, limit and regulate the use of its public roads for transportation thereon for hire, whether inter- or intra-state, provided no unjust discrimination is practiced and no undue burden or interference is just upon interstate commerce and Federal instrumentalities are not interfered with. The highways being the property of the State, it may make any charge for the use of the roads that is not expressly or impliedly forbidden by the controlling law Federal or State. See Alkazin v. Wells et al., U.S. Dist. Ct. So. Dist. of Fla., Feb. ___, 1931, and Johnson T.  F. Lines v. Perry, U.S. Dist. Ct. N.D. of Ga., Jan. 24, 1931; Clark v. Poor, 274 U.S. 554; Interstate Busses Corp., v. Blodgett, 276 U.S. 245.
In the absence of paramount Federal regulations, the number and the nature, size, weight and operation of the vehicles that may be used in transportation for hire on the public highways of the State, may be regulated by statute even as to interstate commerce over such highways, where such commerce is not discriminated against or unduly burdened.
Chapter 13700, Laws of Florida, pertinent provisions of which appear in the Statement filed herewith, contemplates: (1) the conservation of the highways constructed by taxation and other public funds in the State for the use of the public for transportation purposes, (2) the safety of persons and property in the use of the highways, (3) a limited and regulated use of motor vehicles on the highways by persons and corporations engaged in the business of transportation for compensation on such highways, only as the public convenience and necessity may require. *Page 1033 
An intent of the statute is the permissive limited and not unjustly discriminating use of the highways in the business of transportation for hire, only as the public necessity and convenience may require and only as such use does not unduly impair the roads or the safety of their use by the public; it also being an intent of the statute that the business of established transportation companies, affording similar service in the same territory over roads provided and maintained by them and not by taxation or other public funds, shall not be impaired further than as it results from motor vehicle transportation for hire as the convenience and necessity of the public may require. Whether the transportation service for hire proposed to be rendered by motor vehicles over the public highways is essentially similar to that already being rendered, or is materially different in its nature, promptness, convenience, adequacy or other advantages, from similar service rendered in the territory by established lines of transportation, such similarity or difference and advantages as well as the conservation and safety of the roads, should be considered in determining whether the public convenience and necessity require particular motor vehicle transportation service for hire over the public highways.
Another intent of the statute is that before a certificate is issued permitting the use of motor vehicles on the public roads in the business of transportation for hire, it shall be affirmatively shown by appropriate evidence and duly found that the public convenience and necessity require the particular service sought to be authorized. In determining whether the public convenience and necessity require the proposed service to be rendered there should be considered (1) whether the character and number of proposed vehicles may be operated without undue jeopardy to those *Page 1034 
traveling upon the roads, or to the structure and safety of the roads, (2) whether service of a like nature is being rendered in the territory or over the route or schedule line by similar or other means of transportation that is adequate to meet the reasonable requirements of the public convenience and necessity, (3) whether the service in the territory or over the route or schedule line as proposed so differs in matters affecting public convenience and necessity, from other similar service being rendered, as to justify authorizing the additional or different service, in view of the rights of other carriers under the statute and of the tax payers and general public in conserving the structure and safety of the highways. The statute expressly provides that in granting an application for a certificate "the Commission may take into consideration * the effect that the granting of such certificate may have upon other transportation facilities within the territory sought to be served by such applicant, and also the effect upon transportation as a whole within said territory"; and that "when application is made by an Auto Transportation Company for a certificate to operate in a territory or on a line already served by a certificate holder under this Act the Commission shall grant same only when the existing certificate holder or holders serving such territory fail to provide service and facilities to the satisfaction of said Commission."
Chapter 13700 regulating the issue of certificates of convenience and necessity for the use of motor vehicles for compensation on the public roads of the State, contains the following provision:
    "A Certificate of Public Convenience and Necessity shall upon hearing be granted as a matter of right to such Auto Transportation Companies operating in good faith on the 19th day of April, 1929, over the route *Page 1035 
for which such certificate shall be sought, who shall comply in full with the provisions of this Act."
On July 24, 1929, the Florida Motor Lines Inc. was granted by the Railroad Commission a certificate of convenience and necessity to operate motor vehicles over the routes operated by it on April 19, 1929, "using the motor vehicles, the time schedules and tariff rates listed in and attached to the application." One of the routes covered by the certificate extended over State Highway No. 4 from Jacksonville, Florida, to Miami, Florida, over which route passenger busses were operated for hire by the Florida Motor Lines Inc. On July 24, 1929, the Georgia-Florida Motor Lines Inc. was granted a certificate of convenience and necessity "to operate the same service and over the same routes operated over on April 19, 1929, using the motor vehicles, the time schedules and tariff rates listed in and attached to its application." The certificate included authority to operate five seven-passenger sedans over State Highway No. 4 from Jacksonville, Florida, to Miami, Florida. On December 16, 1929, the Railroad Commission by order authorized the Georgia-Florida Motor Lines Inc. "to substitute four 25 passenger busses for the 7 passenger sedans heretofore operated * and to operate said motor busses over said State Road No. 4 between Jacksonville and Miami." This last order was quashed on writ of certiorari. Florida Motor Lines Inc. v. Railroad Commissioners, 100 Fla. ___,129 So. 876.
Subsequently upon application and hearing the Railroad Commission notwithstanding the objections of the Florida Motor Lines Inc., made the following order:
  "ORDER NO. 239, DOCKET NO. A. T. 21 APPLICATION NO. 254. *Page 1036 
      BEFORE THE RAILROAD COMMISSIONERS OF THE STATE OF FLORIDA
  In re: Application of Georgia-Florida Motor Lines, Inc., for leave to change the type of motor vehicles, Certificate for which has heretofore been granted, to motor vehicles of the larger type and seating capacity and also to increase passenger capacity over State Road No. 4.
    This cause coming on further to be heard on the original record of the cause, the hearing of November 6th, 1929, and on the additional record and the testimony taken on September 24th and 25th, 1930, and it appearing that all parties entitled to notice and to be heard have had such notice and hearing, and the Commission being fully advised in the premises, and having reached conclusions as expressed in its opinion filed in the cause, thereupon makes the following order, that is to say:
    The application of Georgia-Florida Motor Lines, Inc., is hereby GRANTED and Georgia-Florida Motor Lines, Inc., is authorized, ordered and directed to change the type of equipment operated by it between Jacksonville and Miami over State Highway No. 4, from Sedans, as heretofore authorized, to 25 passenger busses, as set forth in said application, and upon so changing its type of equipment to 25 passenger busses, it is authorized, ordered and directed to place in service on said route on the schedules operated by it five of such busses and to immediately and forthwith place the same in operation.
    It is further ordered and directed that Florida Motor Lines, Inc., and any other carrier of passengers now operating under certificate of convenience and necessity between Jacksonville and Miami, Florida, over State Highway No. 4, be granted like privilege of increasing their equipment and facilities between said points on their respective schedules in like manner when public convenience and necessity is shown in support thereof.
    DONE AND ORDERED by the Railroad Commissioners *Page 1037 
of the State of Florida in session at their office in the City of Tallahassee, Florida, this 25th day of September 1930."
The order states that:
  "the commission being fully advised in the premises, and having reached conclusions as expressed in its opinion filed in the cause, thereupon makes the order."
    The "opinion" of the Commissioners contains the following:
  In considering a subject such as here presented, the Commission must be guided by three general considerations:
  1st: The protection and conservation of State highways constructed and maintained at large expense to the State; the safety of the State highways for those using them other than bus passengers.
  2nd: The comfort, safety and convenience of the traveling public availing itself of the facilities furnished by the operators holding certificates issued by this Commission.
  3rd: The rights involved of the operators affected by the order here sought.
In applying these general considerations to the matters here involved, the Commission finds:
  that there is no showing to the effect that the equipment sought by the applicant would be injurious to the roads;
  that it appears to the Commission that the road hazards would be reduced by permitting the operation of busses in lieu of sedans;
  that the busses serve the comfort, safety and convenience of the traveling public using motor bus transportation;
  that the schedules assigned to the respective operators are not duplications of service, but have distinct features, in the time of arrival and departure and in widely *Page 1038 
separated terminals at Jacksonville and Miami, — the schedules of each company are set to meet different northern connections of each at Jacksonville, Florida, extending into other States.
  "The Commission is, therefore, of the opinion:
  (1) That the record discloses that the public traveling in the number here shown cannot be adequately, safely and conveniently served by seven-passenger sedans as originally authorized.
  (2) That the patronage enjoyed by the applicant has increased to the point where the applicant is not only entitled to the privilege of increasing the type and size of its equipment, but should be affirmatively ordered and directed by this Commission so to do.
  (3) Public convenience and necessity as disclosed by the record is overwhelmingly in support of the application.
  (4) That Florida Motor Lines, Inc., should likewise be authorized to increase and improve the type and size of its equipment.
  (5) That the mandatory duty rests on this Commission to not only authorize the increase in type and size of equipment heretofore authorized for use by the applicant, but to order and direct it in the interest of the traveling public so to do.
  (6) That like permission and direction to increase type and size of equipment be afforded Florida Motor Lines, Inc., whenever such permission is sought and showing of public convenience and necessity made in support thereof.
  An order consistent with this opinion authorizing, ordering and directing the requested increase will be made."
  See U.S. v. A. B.  C. Ry. U.S. Sup. Ct. Fed 24131 for distinction between an opinion of Commissioners and their mandatory orders. *Page 1039 
Upon the petition of the Florida Motor Lines, Inc., a writ of certiorari was issued by this Court to review the order above quoted. The Georgia-Florida Motor Lines, Inc., and its successor the Interstate Transit, Inc., were permitted to intervene in the certiorari proceedings in this court.
It is contended by the petitioner here that the order is invalid "because the record shows that State Road No. 4 was already served by a certificate holder, to-wit: petitioner, and that the Railroad Commission had no right to make the order in question except in the event petitioner failed to provide sufficient service and facilities to the satisfaction of the Commission; * and because there is no necessity for any further transportation lines to be used on State Road No. 4 in the service aforesaid to give the public adequate transportation facilities."
While the Railroad Commissioners are statutory officers and they can exercise only such governmental authority and functions as are provided for by the express or implied provisions of statutes, under the statute the orders duly made by the Railroad Commission "shall be deemed and held to be * reasonable and just and such as ought to have been made in the premises, and to have been properly made and arrived at in due form of procedure, * unless the contrary plainly appears." If it be duly shown than an order made by the Railroad Commission is without statutory authority or is without a sufficient predicate in the proceedings wherein the order was made, or is otherwise contrary to law, it may be adjudged to be ineffectual in appropriate judicial procedure; otherwise the order should be enforced until its invalidity is duly shown. The validity of the order may be determined on certiorari by a consideration of its terms and of the record *Page 1040 
of the proceedings in which the order was made. Florida Motor Lines, Inc. v. Railroad Comrs., 100 Fla. ___, 129 So. 876.
The "opinion" filed by the Commission and referred to in the order here reviewed, states the conclusions of the Commissioners upon the evidentiary matters considered. It indicates that in determining whether a certificate of public convenience and necessity should be granted to the Georgia-Florida Motor Lines, Inc., on its petition to substitute twenty-four passenger busses for seven-passenger sedans on the petitioner's schedules over State Highway No. 4, between Jacksonville and Miami in Florida, the Commissioners considered the conservation and safety of the roads, the convenience and safety of the public traveling in petitioner's vehicles and also the public convenience and necessity. It is also apparent that the Commissioners determined that the Florida Motor Lines, Inc., was not rendering service on the same schedule line as the Georgia-Florida Motor Lines, Inc. The two companies operate on different schedules from different terminals in Jacksonville and in Miami, the connections being with different bus lines from northern points at different terminals in Jacksonville, Florida; and the Commission decided that each company may increase its equipment and facilities on their respective schedules.
The statute provides that:
  "When application is made by an Auto Transportation Company for a certificate to operate in a territory or on a line already served by a certificate holder under this Act the Commission shall grant same only when the existing certificate holder or holders serving such territory fail to provide service and facilities to the satisfaction of said Commission." *Page 1041 
The Georgia-Florida Motor Lines, Inc., was operating seven-passenger sedans on the schedule line between its terminal stations in Jacksonville and Miami in Florida when it was granted authority to substitute twenty-five passenger busses for the sedans on such schedule line, and the Florida Motor Lines, Inc., was then operating busses between its terminal stations in Jacksonville and Miami, the terminal stations of each being at different points in each of the two cities. While the two companies were authorized to use the same highway between the two cities in Florida, they operate on different schedules and their terminal stations are at different places in each city. The authority to the Georgia-Florida Motor Lines, Inc., to substitute busses for sedans is not an original authority "to operate on a line already served by another certificate holder," but is to increase the capacity for service on a schedule line already being operated in the territory.
In view of this situation as to different schedule lines and terminal stations of the two companies in the same territory, the intent of the above quoted provision of the statute was not violated by the order requiring the Georgia-Florida Motor Lines, Inc., to change the type of its equipment from sedans to busses and "to place in service on said route on the schedules operated by it five of such busses" and granting to the Florida Motor Lines, Inc., "like privilege of increasing their equipment and facilities between said points on their respective schedules in like manner when public convenience and necessity is shown in support thereof."
The "opinion" and order do not state that the Commissioners did, as indicated by the statute, consider "the effect that the granting of such certificates may have *Page 1042 
upon other transportation facilities within the territory sought to be served by such applicant, and also the effect upon transportation as a whole within said territory." But that alone does not necessarily render the order invalid, if the findings and order are duly supported.
A railroad line is operated between Jacksonville and Miami which serves the same intermediate points that the bus lines do. There are also other railroad and boat lines that are operated between Jacksonville and Miami serving also some of the intermediate points. The railroad and bus lines do not operate from the same terminal or intermediate stations. This fact has its effect upon the convenience of the traveling public, particularly upon passengers making connections at terminal or other stations.
While the statute does not contemplate that the business of transportation for compensation on the public highways shall supersede or vitally impair the business of existing transportation lines in the same territory, beyond thatrequired for the public convenience and necessity, yet the public highway lines will necessarily compete for business to a greater or less extent with other lines. This is recognized by the statute which provides that the effect of the highway lines "upon other transportation facilities within the territory * and also the effect upon transportation as a whole within the territory," may be considered in applications for certificates of public convenience and necessity.
The law does not give common carriers immunity from competition; but Chapter 13700, Laws of Florida, does not authorize the business of common carriers who provide their own roads, to be impaired by competition from carriers for hire who use the public roads of the *Page 1043 
State, further than the public convenience and necessity may require.
In the absence of specific statutory regulations or limitations, the character and extent of public highway bus and truck service in competition with other carriers, that may be authorized under Chapter 13700, Acts of 1929, depend upon the requirements of the public convenience and necessity for such bus and truck service and the use of the highways consistent with the conservation of the structure and safety of the roads for general public use. The authority to determine the nature and extent of such bus and truck service on the public highways that should be permitted, is by the statute committed to the Railroad Commission, subject to such limitations as are afforded by the rather general provisions of the statute and to the provisions and principles of law that secure public and private rights against an arbitrary exercise or abuse of governmental authority, through appropriate judicial review in accord with the organic provision that right and justice shall be administered by due course of law. Sections 1 and 4, Declaration of Rights.
The record supports a conclusion that the operation of the bus lines by the Georgia-Florida Motor Lines, Inc., authorized by the order here considered will afford competition that will injuriously affect the business of other transportation lines in the territory, but the statute intends that the Railroad Commission shall determine the extent of the competition that may be authorized to meet the requirements of the public convenience and necessity, consistent with the conservation and safety of the roads, and the courts can on certiorari declare orders made by the Commission to be illegal or an abuse of authority only when such illegality or abuse is clearly shown. *Page 1044 
The findings and conclusions and orders thereon made by the Railroad Commissioners under Chapter 13700, Laws of Florida, may be reviewed on certiorari, but such review is not appellate to determine whether error was committed in such findings and conclusions or in the orders as where writ of error or appeal is authorized or used. The review on certiorari is to determine whether the order as made is illegal as matter of law or was made without observing the provisions of law regulating the matters to be considered or the procedure for such findings and conclusions, or whether in its operation the order will violate organic or fundamental rights, or is merely arbitrary and without sufficient support in the evidence or proceedings had. If there is substantial competent evidence that is legally sufficient to support the findings and conclusions and no rule of law was violated in the proceedings, and the whole record does not show an abuse of authority or arbitrary action, the findings and conclusions of the Commission will not be set aside on certiorari even though the reviewing court might have reached different conclusions on the evidence. See I.C.C. v. Union Pac. Ry., 222 U.S. 541, 547, 32 Sup. Ct. Rep. 108, 56 Law Ed. 308; Tagg Bros. v. U.S., 280 U.S. 420, 442, 50 Sup. Ct. Rep. 220, 74 Law Ed. 524, 536; New York v. McCall,245 U.S. 345, 38 Sup. Ct. Rep. 122, 62 Law Ed. 337; State ex rel. v. F. E. C. Ry., 67 Fla. 83, 64 So. 443; State v. L.  N. Ry.,62 Fla. 315, 57 So. 175; New Eng. Divisions Case, (Akron, C.,  Y. R. Co. v. U.S.), 261 U.S. 184, 43 Sup. Ct. Rep. 270, 67 Law Ed. 605.
The order of the Railroad Commission must under the statute be "deemed and held to be * such as ought to have been made in the premises * unless the contrary plainly appears on the face thereof or can be made to *Page 1045 
appear by clear and satisfactory evidence, and shall not be set aside or held invalid unless the contrary so appears." The order is not invalid on its face; and there is no "clear and satisfactory" showing in the record and proceedings filed in response to the writ of certiorari, or otherwise, that the order is one that should not have been made in the premises. See State ex rel. v. F. E. C. Ry., 69 Fla. 480, 68 So. 729.
There is substantial evidence to sustain the findings of the Commissioners that are essential to the validity of the controlling features of the order here reviewed; and it cannot fairly be said on the record in this case that the findings of the Commissioners are clearly wrong or that the order authorizes a use of the public road that will unduly jeopardize the safety of travelers upon the highway, or unduly impair the structure or safety of the road for its primary use by the public further than may be permitted under the statute; or that the public convenience and necessity do not require the service authorized; or, in view of the differences in the schedules and terminal connections of the Florida Motor Lines, Inc., and the Georgia-Florida Motor Lines, Inc., that the order denies to the former a right secured to it by the statute; or that the effect of the order upon "other transportation facilities within the territory" or "upon transportation as a whole within the territory," is different from or more injurious than may be permitted under the statute, no organic rights being violated. Questions of policy not impairing organic rights in permitting and regulating competition between carriers using the public highways of the State and other carriers, are for legislative determination. The courts may determine the legality of legislative regulations, and of administrative action thereunder. *Page 1046 
As the order merely authorizes and requires the Georgia-Florida Motor Lines, Inc., to substitute busses for sedans on its established schedule line from its own terminal stations, and as the other certificate holder in the territory, the Florida Motor Lines, Inc., operates its busses on a different schedule line from its own terminal stations, the schedules and terminal stations of the two lines being different, the rights of the Florida Motor Lines, Inc., under the statute as a certificate holder in the territory are not clearly shown to be violated.
Interstate passengers using connecting lines at Jacksonville are regularly transported in continuous transit over both motor vehicle lines upon the same highway in this State, and to deny one line the privilege of substituting busses for sedans when the other line is privileged to use busses, might involve unlawful discrimination in interstate commerce, it being shown that the use of busses conserves the public convenience and necessity. The substitution of busses for sedans is by the findings set out in the statement and supported by evidence clearly shown to serve the convenience and comfort of passengers, to enhance safety in travel on the public roads and to meet the necessities of increasing travel on the line; and it does not clearly appear that the structure or safety of the roads or the business of other carriers in the territory will be impaired by the change from sedans to busses further than is permissible under the statute regulating the subject. A new line of service or a greater increase in the authorized service affecting the use and safety of the public roads and unduly increasing competition with established carriers might violate the statute.
In certiorari proceedings the order reviewed may be *Page 1047 
quashed if invalid, otherwise the writ may be quashed. Atl. Shell Co. v. Steel Products, 98 Fla. 6, 122 So. 787.
The essential provisions of the order of the Railroad Commission are not clearly shown to violate the intendments of the statute under which it was made, or to violate any organic or statutory rights of the Florida Motor Lines, Inc., or other carriers in the territory covered by the order, therefore the writ of certiorari issued by this court to review the order of the Railroad Commission, should be and the said writ of certiorari is hereby quashed.
STRUM, C.J., AND BUFORD, J., concur.
BROWN, J., concurs specially.
ELLIS AND TERRELL, J.J., dissent.